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                                   EXHIBIT A

  Dismissing Texas     NDOH File        Signed With          Dismissing Plaintiff’s
    Subdivision           No.            Permission                 Counsel
  Angelina County       1:20-op-   /s/ Simon Greenstone    Dies & Parkhurst, L.L.P.;
                         45053          Panatier, P.C.    Simon Greenstone Panatier,
                                                                       P.C
   Bailey County        1:20-op-   /s/ Fears Nachawati,     Fears Nachawati, PLLC;
                         45264             PLLC           Ferrer Poirot & Wansbrough

   Bowie County         1:17-op-   /s/ Simon Greenstone Simon Greenstone Panatier,
                         45159          Panatier, P.C.   P.C.; Dunn Nutter & Morgan;
                                                              Martin Walker, P.C.
   Brazos County        1:18-op-    /s/ Fears Nachawati,   Fears Nachawati, PLLC;
                         45863              PLLC         Ferrer Poirot & Wansbrough;
                                                               Matthew S. Daniel
    Camp County         1:18-op-   /s/ Simon Greenstone Simon Greenstone Panatier,
                         45301          Panatier, P.C.     P.C.; Martin Walker, P.C.

  Cherokee County       1:17-op-   /s/ Simon Greenstone  Simon Greenstone Panatier,
                         45155          Panatier, P.C.    P.C.; Martin Walker, P.C.;
                                                           Richards Penn; Ament &
                                                                   Peacock
  Childress County      1:18-op-     /s/Haley & Olson        Altman Legal Group;
                         45229                             Harrison Davis Steakley
                                                        Morrison Jones, P.C.; Haley
                                                                   & Olson
   City of Laredo       1:18-op-    /s/Napoli Shkolnik, Napoli Shkolnik, PLLC; Luis
                         46026             PLLC              R. Vera & Associates
 City of San Antonio    1:19-op-     /s/Baron & Budd,       The Herrera Law Firm;
                         45833              P.C.        Baron & Budd, P.C.; Greene,
                                                         Ketchum, Farrell, Bailey &
                                                          Tweel LLP; Hill Peterson
                                                        Carper Bee & Deitzler PLLC;
                                                         Levin, Papantonio, Thomas,
                                                        Mitchell, Rafferty & Proctor,
                                                        P.A.; McHugh Fuller; Powell
                                                                 & Majestro
    Clay County         1:18-op-     /s/Haley & Olson      Harrison Davis Steakley
                         45169                          Morrison Jones, P.C.; Altman
                                                        Legal Group; Haley & Olson
   Coryell County       1:22-op-   /s/ Simon Greenstone Simon Greenstone Panatier,
                         45009          Panatier, P.C.   P.C.; Richard A. Dodd, LC




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     Subdivision          No.           Permission                  Counsel
  City of Eagle Pass    1:18-op-    /s/Napoli Shkolnik,    Napoli Shkolnik, PLLC; Luis
                         46033            PLLC                R. Vera & Associates

   Franklin County      1:18-op-   /s/ Simon Greenstone    Simon Greenstone Panatier,
                         45302          Panatier, P.C.      P.C.; Martin Walker, P.C.
  Freestone County      1:19-op-   /s/ Simon Greenstone    Simon Greenstone Panatier,
                         45985          Panatier, P.C.      P.C.; The Beckham Group
  Galveston County      1:19-op-   /s/ Watts Guerra LLP     Watts Guerra LLP; O'Neill
                         45239                                          Law
   Haskell County       1:18-op-    /s/Haley & Olson         Harrison Davis Steakley
                         45223                             Morrison Jones, P.C.; Haley
                                                                     & Olson
  Henderson County      1:19-op-   /s/ Fears Nachawati,      Motley Rice LLC; Fears
                         45684             PLLC            Nachawati, PLLC; Mathew
                                                            S. Daniel; Ferrer Poirot &
                                                                    Wansbrough
    Jasper County       1:19-op-   /s/ Simon Greenstone    Simon Greenstone Panatier,
                         45238          Panatier, P.C.       P.C.; Paul D. Henderson,
                                                              P.C.; Dies & Parkhurst,
                                                                      L.L.P.
    Jones County        1:18-op-    /s/Haley & Olson         Harrison Davis Steakley
                         45139                             Morrison Jones, P.C.; Haley
                                                                     & Olson
  Kaufman County        1:18-op-    /s/ Fears Nachawati,     Fears Nachawati, PLLC;
                         46081              PLLC           Ferrer Poirot & Wansbrough
   Kendall County       1:22-op-   /s/ Simon Greenstone    Simon Greenstone Panatier,
                         45010          Panatier, P.C.      P.C.; Martin Walker, P.C.;
                                                           The Armstrong Firm, PLLC
   Kinney County        1:18-op-    /s/Haley & Olson         Harrison Davis Steakley
                         45241                             Morrison Jones, P.C.; Haley
                                                                     & Olson
   Lamar County         1:17-op-   /s/ Simon Greenstone    Simon Greenstone Panatier,
                         45162          Panatier, P.C.      P.C.; Martin Walker, P.C.
   LaSalle County       1:18-op-     /s/Haley & Olson        Harrison Davis Steakley
                         45234                             Morrison Jones, P.C.; Haley
                                                                     & Olson
    Leon County         1:19-op-   /s/Watts Guerra LLP      Watts Guerra LLP; O'Neill
                         45240                               Law; The Gallagher Law
                                                                       Finn
  Maverick County       1:19-op-   /s/ Napoli Shkolnik,      Napoli Shkolnik, PLLC
                         45426             PLLC
  McLennan County       1:17-op-     /s/Haley & Olson       Harrison Davis Steakley
                         45075                             Morrison Jones, P.C.; Haley
                                                                    & Olson


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  Dismissing Texas        NDOH File       Signed With          Dismissing Plaintiff’s
    Subdivision              No.           Permission                 Counsel
   Mitchell County         1:18-op-    /s/Haley & Olson        Harrison Davis Steakley
                            45063                            Morrison Jones, P.C.; Haley
                                                                      & Olson
 Montgomery County         1:18-op-    /s/Haley & Olson        Harrison Davis Steakley
                            45030                            Morrison Jones, P.C.; Haley
                                                                      & Olson
   Morris County           1:17-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45086          Panatier, P.C.     P.C.; Martin Walker, P.C.
   Newton County           1:19-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45242          Panatier, P.C.     P.C.; Paul D. Henderson,
                                                               P.C.; Dies & Parkhurst,
                                                                       L.L.P.
    Nolan County           1:18-op-    /s/Haley & Olson        Harrison Davis Steakley
                            45061                            Morrison Jones, P.C.; Haley
                                                                      & Olson
     Polk County           1:18-op-    /s/Haley & Olson        Harrison Davis Steakley
                            45077                            Morrison Jones, P.C.; Haley
                                                                      & Olson
  Red River County         1:17-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45160          Panatier, P.C.                P.C.

    Rusk County            1:17-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45154          Panatier, P.C.    P.C.; Martin Walker, P.C.;
                                                                Love Law Firm, P.C.;
                                                                 Adkison Law Finn
    Smith County           1:18-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45081          Panatier, P.C.     P.C.; Martin Walker, P.C.

  Stephens County          1:18-op-   /s/ Fears Nachawati      Fears Nachawati, PLLC;
                            45804              PLLC          Ferrer Poirot & Wansbrough
   Tarrant County          1:18-op-    /s/ The Lanier Law    The Lanier Law Firm, P.C.;
                            45274            Firm, P.C.       Law Offices of Tom Hall
   Tarrant County          1:21-op-      /s/ Wick Phillips      Wick Phillips Gould &
Hospital District d/b/a     45077     Gould & Martin LLP             Martin, LLP
 JPS Health Network
Throckmorton County        1:18-op-    /s/Haley & Olson        Harrison Davis Steakley
                            45141                            Morrison Jones, P.C.; Haley
                                                                      & Olson
    Titus County           1:17-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45161          Panatier, P.C.     P.C.; Martin Walker, P.C.
   Upshur County           1:17-op-   /s/ Simon Greenstone   Simon Greenstone Panatier,
                            45085          Panatier, P.C.    P.C.; Martin Walker, P.C.;
                                                                Tefteller Law PLLC



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  Dismissing Texas   NDOH File        Signed With          Dismissing Plaintiff’s
    Subdivision         No.            Permission                Counsel
   Walker County      1:19-op-     /s/Loevy & Loevy      Loevy & Loevy, Correro &
                       45713                               Leisure, P.C.; Park &
                                                        Durham; G. Allan Van Fleet,
                                                                    P.C.
    Webb County        1:18-op-   /s/ Cicala Law Firm    Cicala Law Firm; Sanford
                        45175                                  Heisler Sharp
   Wichita County      1:18-op-    /s/Haley & Olson       Harrison Davis Steakley
                        45064                           Morrison Jones, P.C.; Haley
                                                        & Olson; Altman Law Group
   Zavala County       1:18-op-   /s/Napoli Shkolnik,   Napoli Shkolnik, PLLC; Luis
                        46036           PLLC               R. Vera & Associates




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